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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRADLEY HAMILTON,                                )
individually and as the father and guardian of   )
AA, a minor, et al,                              )
               Plaintiffs,                       )
                                                 )
               v.                                )      Case No. 20 CV 292
                                                 )
OSWEGO COMMUNITY UNIT SCHOOL                     )      Hon. Steven C. Seeger
DISTRICT 308; and OSWEGO COMMUNITY               )
UNIT SCHOOL DISTRICT 308 BOARD OF                )
EDUCATION                                        )
            Defendants.                          )

                            UPDATED JOINT STATUS REPORT

In accordance with the Court’s April 18, 2022, Minute Order (Doc. 107), the parties have

met and conferred and jointly submit the following status report.

   1. Additional Discovery

   A. Nursing Note

       The Defendant District has been in contact with the support staff of the program
       that was in use while AA attended its school, eSchool, concerning gaining access
       to any audit trails for AA’s nursing records. With assistance from the
       representatives of eSchool, Defendants have obtained an audit trail for the nurse’s
       note and has produced that to the Plaintiffs. The audit trail was in Microsoft Excel
       format. Plaintiffs’ counsel has consulted with his IT representative, Lee Neubecker
       at Enigma Forensics. Mr. Neubecker believes additional electronically stored
       information can be retrieved. In accordance with this Court’s standing order on
       discovery, the parties’ IT representatives will meet and confer on Wednesday May
       4, 2022, to discuss inter alia the retrievability of additional electronically stored
       information (if any). After that meet and confer, the parties propose that counsel
       update the Court with a supplemental Joint Status Report. Should any additional
       discovery be needed on this subject matter, Plaintiffs anticipate it would be a
       forensic examination of Defendants’ server and that examination could be
       completed within thirty (30) of this Court’s permission to proceed.

   B. Nurse’s Cell Phone

       The school nurse is not a party to this case. Defendants are not in possession of
       the school nurse’s cell phone. As a result, Defendants have taken the position the
       cell phone would need to be subpoenaed from the school nurse directly. With the

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   Court’s permission to do so, Plaintiffs would serve a subpoena on the school nurse
   for a forensic examination of her cell phone and that examination could be
   completed within fourteen (14) days of Plaintiffs securing physical custody of the
   cell phone.

C. Additional Discovery

   Subject to “A” and “B” supra, the parties do not anticipate and are not requesting
   any additional discovery related to the Third Amended Complaint. Defendants do
   not object and are cooperating with Plaintiffs concerning additional conferencing
   between the parties’ IT consultants about the audit trail for the nurse’s note.
   Depending on what Plaintiffs’ IT consultant recommends, the Defendants may be
   objecting to a further outside forensic exam because of the confidential nature of
   records kept by the District or specific protective orders. Defendants will address
   any subpoenas to the school nurse after reviewing the scope of the subpoena and
   the proposed method of obtaining information requested.

   At the filing of this Report, Defendants intend on filing a Motion to Dismiss the new
   count pleaded in the Third Amended Complaint.

2. Expert Witnesses

   Plaintiffs anticipate the disclosure of one or two retained expert witnesses.

   Defendants anticipate the disclosure of one or two retained expert witnesses.

3. Motions for Summary Judgment

   Plaintiffs do not intend on filing a motion for summary judgment.

   Defendants intend on filing a motion for summary judgment in this matter. The
   Motion will be based upon the following theories, among others:

   1. ANCRA immunity
   2. Plaintiffs cannot produce evidence that the District’s reports of abuse of AA to
      DCFS were made in bad faith.
   3. Defendants would have taken the same action of making a hotline call to
      DCFS even in the absence of the protected conduct.
   4. Plaintiffs cannot produce evidence to establish a causal connection between
      any alleged protected activity by the Plaintiffs and the alleged adverse action
      to establish their retaliation claims.
   5. Plaintiffs cannot produce evidence that an alleged improper search of AA
      occurred.




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Respectfully submitted,

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